Case 2:07-Cv-02278-.]AR-D.]W Document 1 Filed 06/27/07 Page 1 of 19

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FORTHEDISTRICT OF KANSAS Z{]D`| JUN 2‘] {3 3: 52

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Case 2:07-Cv-02278-.]AR-D.]W Document 1 Filed 06/§7/07 Page 2 of 19

(ln item B below, write the full name of the defendant in the first blank In the second blank, write the
official position of the defendant Use item C for the names and positions of any additional defendants).

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employed at

 

 

C. Additional Defendants

 

 

 

II. Jurisdiction: (Complete one or more of the following subparagraphs, A, B. l, B.2., or B.3.,
whicheva is applicable.)

A (If Applicable) Diversity of citizenship and amount
1_ Plairrriffis adam ortho smoof t</>r'n$/t.$~
2. 'Ihe first-named defendant above is either

a, a citizen of the State of ; or

63 a corporation incorporated under the laws ortho store of
" w and having irs principal plaoe ofbosirrors in a store

otherthantheStatJeofwhidiplaintitfisacitizm.
3. 'Ihe second-named defmdant above is either

a acitizm ofthe State of 'or

 

b. a corporation incorporated under the laws of the State of
and having its principal place of business in a State
owthanthe State ofwhich plaintiffis acitizen.

 

(Ifthelearemorethantwo defmdairts, setforththeforegoing informationforeachadditional
defendant onaseparatepage and attachittothis complaim;)

Plaintiti`statesthatthematterincontrovecsy exceeds, exclusive ofintexestmdcosts,thesmnof
seventy-five thousand dollars ($75,000.00).

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B. (It` applicable) Jurisdiction founded on grounds other than diversity(Check any of the
following which apply to this case).

l. This ease arises under the following section of the Constitution of the
United States or statute of the United States (28 U.S.C. §1331):
Constitution, Article , Section ,'

Statute, US Code, Trtle , Secum__.

_____

§§ 2. This case arises because of violation of the civil or equal rights,
` \ privileges, or immunities accorded to citizens of, or persons within the
jurisdiction of, the United States (28 U.S.C. §1343).

3. Othergrounds (specii`y mdstateanystatutewhidi givesriseto
such grounds):

 

 

 

 

IlI. StatementofClaim‘
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additional sheet, if necessary,tosetfort.h ashortandplainstatemmtof the claim[s],)
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The facts surrounding my claim of disuimination are:
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,{,M,¢.d/¢LL@, 7/’0 kal/mich olin {,<>UY_,!C/-r :7 "('Uzw

The alleged discriminatory conduct occtn'red on or about /QQQ 5 -- 2 QQ§ ,_,

at L{/t)'r/!:PS/'/t/r GZ/ K<l/)SA.S

In accordance with 42 U.S.C. § 2000e-5, 29 U.S.C.§ 626(d) and 29 U.S.C. §
633(b), or 42 U.S.C. § 12117, more than sixty (60) days have elapsed since filing a
chargealleging mlawlirl discriminationwiththeKansas StateDivisionomenanRights,
the Kansas Commission on Human Rights or the Equal Employment Opportunity
Cornmission

In accordance with 28 U.S.C. § 1343 or 29 U.S.C. § 633a(d), of this is an Age
Discrimination action, a thirty (30) day Notice of Intent to File this action has been
given to the Equal Employment Opporttnity Ccmmission

Iiiled diargeswiththeKaosas StateDivision ofHumanRights ortheKansasState
ConnnissioanmnmRightsregardingtheallegeddiscriminatoiy acton
_FL_.§`Q_§; QOOU .

I filed charges with the Equal Employmmt Oppottunity Commission regarding the
alleged discriminatory act on .

 

 

ItiledaNoticeofIntentwiththeEqualEmploymertOppommity Commissionon
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'Ihe Equal Employme.nt Opportunity CommissionissuedaNotice of RighttoSue letter
(COpya!tached)whichwasreceivedbymeonorabout QZ V_Y)HV QDO§L

Ifreliefisnotgranted,plaintitfwillbeirreparably deniedtherightssecuredbytheAge
DisctinnnationinEmploymemActofl%7,asamarded,bylideVHofthe 1964 Civil
RightsAct,asamended,orbytheArnericamWithDisabilityAct

Plairrtili`demandstiial by jury. Yes_)(_ No

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WHEREFORE, plaintiti` prays that

a The court grant the relief stated in 42 U.S.C. § 2000e-5, 29 U.S.C. § 633a(c),

or 42 U.S.C. § 12117, including damages in the amount of
$ .

 

b. The court grant such other legal or equitable relief as the court deems just and
proper, including attomey’s fees and costs.

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trial in this matter
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ii Case 2:07-Cv-02278-.]AR-D.]W Document 1 Filed 06/27/07 Page 6 of 19

IN THE UNI'I'ED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

A,HA/Q‘;/ !-/c/C kF,B/r)

 

 

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VS.

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CIVIL COMPLAINT PURSUANT TO
TI'I'LE VlI OF THE
CIVIL RIGHTS ACT OF 1964
or
29 U.S.C. § 621-634(b)

(Age Discrimination in Employment Act)

or
42 U.S.C. § 12111 et seq.
(Americans With Disabilities Act)

Maikthestatutethatyouarefilingthis complaintmtder.
Title VlI of the Civil Rights Act of 1964.
29 U.S.C. § 621-634 (b) (Age Discrimination in Employment Act)

z 42 U.S.C. § 12111 et seq. (Americans thh Disabilities Act)

1

 

Case 2:07-Cv-02278-.]AR-D.]W Document 1 Filed 06/27/07 Page 7 of 19

1. Praimr'rrraida ar 5000 F`/r/,;// Z>.r
O\Paoawvetwa, 265 ;//a />2/7

2. Defendant employer(s) reside or can be served with process at the addresses set forth
in the enption above

3. This Action is brought for employment discrimination pursuant to one or both of the
following laws:

a Title VlI of the Civil Rights Act of 1964 for employment discrimination
b. Age Discrimination in Employment Act of 1967, coditied at 29 U.S.C.
§ 621-634(b), as amended, for employmmt discrimination based on

c. 3 Americans \Vrth Disabilities Act, codified at 42 U.S.C. § 12111 et
seq., for employment discrimination based on disability.

Jurisdiction rs conferred on this comt pursuant to 29 U. S C §626(¢)(1), 42 U. S. C. § 2000e-5 or 42
U. S. C § 12117 Ifthe plaintiffs a federal employee, jmisdiction ts conferred on this court pursuant to
29 U S. C § 633a(c)

4. Venue is invoked pursuant to 28 U,S.C. § 1391.

5. Defendant’s conduct is discriminatory with respect to the following

 

 

 

a My race or color, which is

b. My religion, which is

c. My sex, which is male; female

d. My national origin, which is

e. My age, in violation of 29 U.S.C. § 623.

f _)§_ My disability or perceived disability, which is _Unsritroarranta, ct mo
Z. IDCZI'Yi CJC.CUCT

g Other as specified below:

 

 

 

 

 

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10.

The plaintiff is an employee within the meaning of the above-cited statutes
Ifthis is an age discrimination case, the plaintiff states the following

a Plaintiti` is within the age limits as prescribed by 29 U.S.C. § 63l(a).
b. My age at the time of the alleged discriminatory conduct was

c. My year of birth is

 

'Ihe defmdant(s) is (are) an employer, employment agency, or labor organization within
the meaning of 28 U.S.C. § 1343 and 29 U.S. C § 630(b)(c) and (d).

The defmdant(s) is (are) engaged in commerce within the meaning of the above-cited
Sta!uies.

The conduct complained ofin this action concern

a ______ Failure to employ

b. _,X__ Termination of errqiloyment

c. ___ Failure to promote

d. ____ Unequaltermsandconditions ofemploymmt

e. ____ Reduction in wages

f ____ Retaliation

g _>Q Failure to accommodate disability

tr _‘X_ other acts as spotted borow:
§ a rrb/261 icc/12 'O/n a ad her §f//IU’;()L'

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IV. Relief: (State briefly exactly whatjudgement or reliefyou want from the Court Do not make
legal arguments.)

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V. Doyou claimthewrongsallegedinyour complaintaiecontinuingtooccuratthe present time?
Yes{] No[)d’ /\loQ£J\/%l» Qt/V:PLUVQU (Q<?»KU

VI. Do you claim actual damages for the acts alleged m your complaint? YesN No[ ]
VII. Do you claim punitive monetary damages? Yes l)<] No [ ]

lfyou answered yes, state the amounts claimed and the reasons you claim you are entitled to
recover money damages

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VIII. Administrative Procedures:

A Havetheclaimswhidiyourmkeinthiscivilactionbeenpresentedthroughaiiytypeof
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B. If you answered yes, give the date your claims were presented, how they were
presented, and the result of that procedure

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Case 2:07-Cv-02278-.]AR-D.]W Document 1 Filed 06/27/07 Page 10 of 19

C. lf you answered no, give the reasons, if any, why the claims made in this action have not
been presented through Administrative Procedures:

 

 

 

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(Rev. 9/04

 

 

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Civil Complaint Huckeba vs University of Kansas and it’s representatives

I[l.
Statement of Claim pg. 3

I was discriminated against based on the disabilities of claustrophobia, anxiety
syndrome, and panic attack in that the University of Kansas, Graduate School &
International Programs failed to provide reasonable accommodation; failed to make
good faith eforts to provide reasonable accommodation,‘ retaliated and harassed me due
to my disability and requests for reasonable accommodation; and carried out a wrongul
termination based on my disability

Failure to Provide Reasonable Accommodation and Failure to Make Good Faith
Efforts to Provide Reasonable Accommodation.

1 had made numerous verbal and written requests for Reasonable Accommodation,
beginning in 2003 with the first q@'ice remodel because of claustrophobia. Even when we
walked through the new ojice space and 1 saw the corner cubicle, I told John Augusto
that I could not work there. He said that that is the place Diana wanted me to be and that
is where 1 would be. He sounded very mean, but he was grinning. All of my
accommodation requests were ignored 1 was subjected to disparaging remarks that were
hurtjul. Only cyier I had a full blown panic attack in Jan 2004 was 1 moved out of the
corner and over one cubicle, trading place with Lori Philllps, but 1 was still in the same
area. 1 continued to ask for reasonable accommodation I asked HREO to be moved
within KU to another o_#ice as 1 became more and more sick. There were jobs 1 was
qualified for that were similar to my job.

I submitted the first written request for Reasonable Accommodation, supported by
documentation from my doctor, Gregory Schnose, dated Feb 22, 2004, to Steve Ramirez
since 1 had not been given any response to requests made to lhomas Heilke, John
Augusto, Michael Mosser or Diana Carlin Steve Ramirez said he would send a copy to
Ihomas Heilke. No response was ojered and no discussion with me about possible
solutions was ever initiated by ]homas Heilke, Dean Carlin or Human Resources and
Equal Upportunity. (See attached request(s) and notice dates, also letters from Schnose
and Melland). When 1 asked Thomas Heilke about the request and my situation several
times he smiled and said in a condescending tone that his mother had claustrophobia and
said he would discuss it with Dean Carlin. 1 wanted to ask if his mother also had panic
attacks, but I didn ’t. I had suggested to lhomas Heilke and to Steve Ramirez that I could
return to my former ojice since it was vacant, or that 1 could work from home as Tracie
Whiting szper was doing. Later, when I asked ]homas Heilke again about it, he told me
that Diana Carlin had refused to discuss it jllrther. Diana never brought up the subject or
met with me regarding my request After Jan 2004, I remained in the same cubicle, in the
same area (see Foor plan attachment) until 1 went on Medical leave in Feb 2006.

 

 

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Retaliation, Baiting and Harassment

 

When 1 became ill and repeatedly requested Reasonable Accommodation,' suddenly 1
began to receive memorandums that were just full of false reporting lhese false
accusations were at first bewildering to me, and then, despite my ejorts to comply with
those directions, these false accusations continued 1hese lies written about me and my
character,‘ that 1 was rude, that 1 cursed on the phone, that I rolled my eyes and made
demeaning remarks toward others, that people didn ’t like me,' that 1 had been overher
saying or doing numerous things that 1 never did; being accused of these caused extreme
stress that exacerbated my condition of anxiety syndrome 1 was made very sick by these
deliberate attempts to increase stress, discredit and demoralize.

The one small half of a window in our area that was already covered with a window air
conditioning unit and dark film was also covered over with heavy plastic and duct tape.
T wo separate air quality studies were conducted both times canisters were placed on my
desk and 1 was told that the air quality technician there was particularly bad with high
levels offormaldehyde, mold and ozone. Several people in the oj?‘ice asked to see the
results of the air quality tests but none were ever provided and the issue was dropped

1n another attempt to cope with my deteriorating condition of anxiety caused by
prolonged exposure to this claustrophobic environment my doctor had prescribed anti-
anxiety medication 1 had told my direct supervisor, lhomas Heilke that 1 was taking
medication because it made me extremely sleepy and 1 was concerned that he might
notice. 1 was shocked to overhear Dean Carlin say aloud to lhomas Heilke, and Lanis
Atwood “you can really tell when she is of her meds. ” 1hey all chuckled Joking
comments about claustrophobia were made around me oj?en, and people would try to tell
me that they had claustrophobia also, in a dismissive manner as though it was like having
poison iw. 1 supposed they had no idea how horrible the panic attacks felt.

A baiting strateg) was used and false documentation For one example: everyone knows
that fall is Q#ice of International Programs ’ busiest time of year. During this time when 1
had a very full week Thomas Heilke asked me, in front of Lanis Atwood, the ojice
manager, to clean out the display case in the west hallway outside the ojice. 1 was
thinking aloud and asked “Are we supposed to do that? " 1 asked because in the almost
4 years that 1 had worked there 1 had never been asked to clean out the display case. 1
was thinking that housekeeping would probably do that if we asked; 1 didn ’t even know

where the key to the display case was. .'lhomas Heilke very sarcastically said that
housekeeping

probably would clean the display case but that he was telling me to do it. He used a tone
of voice as though he was scolding a child 1 said that 1 had never done that before and
that 1 would have to think about it (meaning think about HOWto accomplish that
assignment), Ihomas Heilke and Lanis Atwood looked at each other and she followed

 

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him into his ojice and they closed the door. Lanis was helping them discredit me and she
lied many times about what 1 had said or done.

The next day l cleaned out the display case and bought some fabric to replace the old
yellowedjayhawk paper. The next day 1 brought an extension cord a dirt devil, extra
filter bags, and cleaning cloths from home because KU housekeeping dion ’t have
anything except a feather duster and that would not have accomplished the job ( 1 had
asked housekeeping for such equipment) . The display turned out very nice and 1 enjoyed
doing it. People from our offices and the math department stopped to chat and
commented on how nice it looked 1t was actually a nice break from all the hectic
planning for fall events and programs 1 was shocked to see in one of Thomas Heilke ’s
memorandums that 1 had refused to do this project, and that 1 often had a poor attitude
when asked to do something that 1 considered not part of my job.

Some time later, lhomas Heilke sent an e-mail to Rochelle Montgomery and me asking rf
one of us would make new signage for the cork bulletin board outside our ojice. I have
some time and so 1 did that right away. Thomas was very critical of my work and told me
that a child could have done a better job. 1 went back and tried to make changes to please
hirn. Alison Watkins came by and saw me struggling because of the height to reach the
top of the bulletin board and pin the pieces of signage perfectly straight 1 joked thatI
needed a level, and she smiled and shook her head making some comment about

Thomas. 1

A new ‘oj'}‘ice policy ’ was implemented in late summer 2005. 1 had to fill out forms and
receive permission anytime 1 was out of the ojice and 1 had to let the front desk know
when 1 left my desk to go to the restroom. ln my 3.5 years of employment at KU, 1
attended committee meetings, planning meetings as necessary and would just let someone
know where 1 would be, 1 never abused this. 1 have always been a “self starter ’ and self
directed 1 have held many jobs of professional responsibility Suddenly 1 had to jill out
permission forms even to attend our own ojice meetings 1hen if meetings were cancelled
or rescheduled 1 had to fill out another form and these had to be signed by lhomas
Heilke who was part time, and copies given to Bette Luther, the ojice bookkeeper and
Lanis Atwood the ojice manager.

1 often gave lhomas Heilke updates on what was coming up and reminded him of

` administrative matters that needed his attention Zhomas Heilke referred to this practice

with appreciation in both evaluations and memorandums

Each week when Lanis Atwood the ojice manager, and other support stay had our
ojice matrix meeting 1 reported what 1 was working on and the dates for upcoming
events by E-mail well in advance Lanis must have had problems remembering because
she would often question me about those things again even though 1 had told her already
and answered those questions several times. 1 was surprised that in one of 1homas
Heilke ’s memorandums it was reported that on several occasions 1 was not at my desk

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and no one knew where 1 was. 1 had made it a habit to stop by and tell the receptionist,
Judy Davis, when 1 was even when 1 was merely stepping out for the ladies room.

Also, 1 was deliberately left on memos regarding OlP meetings 0nce lhomas came to
get me because they were having a meeting that l didn ’ know about and Diaan needed a
report from me about an upcoming event. Lanis would not tell people where 1 had gone (
when 1 had told her) . All of this stress added to my already terrible situation

1 had never had high blood pressure, but began to have elevated readings.

Bette Luther, the Firrancial Ojicer, made numerous erasures and changes to my time
card without my lmowledge. lhere were many errors that 1 got blamed for. Ajter 1
returned from vacation 1 found an error; that my vacation time had not been subtracted
jrom my time card 1 politely pointed that out to Bette cy‘ter we talked with 1homas (when
1 left they closed the door and remained therefor some time) and that was reported as me
being confrontational about my errors on my time sheet.

1 had a really good working relationship with JoAnne Kreaaj), the previous book keeper.
We worked together on budgets for projects and l could discuss anything pertaining to
work with her. Bette Luther was always hostile and aggressive although 1 tried to get on
her good side 1 just never could 1 wondered if it was because 1 was also the hiring
manager for our part of the oj‘ice (Ojr`ce of International Programs) and she had done
all of that, and almost everything else for Center for Russian and East European Studies
(CREE.S) which was a smaller ojj‘ice. Bette Luther seemed put out and more hostile than
usual when 1 was asked to staj a couple of job searches. 1n fact although 1 was not aware
of an update training session for hiring managers it was reported to lhomas Heilke and
included in one of his memorandum that 1 deliberately didn ’t attend a training session
that 1 was required to attend Bette Luther had joined our ojice about the time 1 was
pushing my requests for accommodation and or transfer that was also about the time 1
had met several times with Steve Ramirez, Human Resources Equal Opportunity. As the
book keeper and payroll person for our ojice Bette was in constant contact with Human
Resources and Equal Opportunity stajf

Alison invited me to lunch in the fall and 1 had to arrange to switch times so that the jront
would be covered during lunch, although 1 often was left to cover the ojice alone,
eWecially during the summer. 1 kept the discussion light and we were chatting when
Alison abruptly asked me if there was anything 1 wanted to talk about 1 asked her what
she meant, and she said ” 1 know what you are going through now and thought you might
want to talk about it. ” 1 just talked about the upcoming events,' 1 felt that 1 was being
baited This lunch was after my first meeting and delivery of memorandum with Ihomas
Heilke, Oct 28 2005, when he had behaved strangely placing an empty camera case on
the table between us as though our conversation was being recorded
He had then tried to make me angry by being corp‘rontational and mean toned about the
memorandum 1 was so shocked by receiving this memorandum dated Gct 28 2005 1 was
practically speechless.

 

 

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lhomas Heilke had also threatened me during that meeting, we met at the Hawks nest in
the Kansas Union, not to talk to any of my co-workers or to question them about the
memorandum contents He ojered to help me and 1 accepted 1 said “help me. ” He
smiled strangely. Yhomas Heilke had said if 1 complied this matter would be dropped As
directed 1 did not talk to anyone in the ojice about the memorandum or our meeting and
1 made conscious ejorts to smile more often 1 began to think that perhcms my facial
expressions were the problem since 1 tend to pawn when 1 concentrate 1 was extra
ji‘iendly and at times joined in the discussions about recipes and shopping, and the usual
office gossip. Usually 1 had too much work to do to participate and 1 thought perhaps
people thought 1 was not jriendly enough 1 was bewildered then to receive the Nov 22,
2005 memo full of more false accusations

Wrongful Termination

Although 1 had received stellar annual job performance reviews my work and working
relations were widely praised and 1 had even received an additional merit pay increase
in Sep 8 2005, and was told by Associate Dean Thomas Heilke, shortly after 1 received
the letter ( see attached) from Dean Carlin regardingmy merit pay increase, that all the
graduate school and international program deans agreed immediately in their meeting
that 1 should receive the highest merit increase

When 1 became very sick and asked for reasonable accommodation; then asked that
HREO transfer me to another job at KU, 1 was told by Steve Ramirez, OIa Faucher, and
lhomas Heilke that my condition was not considered a disability False statements and
reports were made up, 1 was baited and harassed so that work became even more
stresz and my physical and mental health deteriorated lhis was documented by my
w and the psychotherapist 1 was seeing.

1 was informed by letter ( see attached and my response) thatl was terminated because 1
could not provide a release to return to work in that Q@'ice from my doctor and return to
work by May 1 2006. l did not obtain a medical release to return to work until June 12,
2006.

 

 

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EEOC Formtet (3/95) U.S. EQUAL EMPLOYMENT OPPORTUN|TY COMM|SS|ON

 

DlslvllsSAl_ AND NoTlcE oF RlGHTS

 

TO¢ Nancy Huckeba From: Kansas City Area thce
3004 Fllnt Drive Gateway Tower ll
Lawrence, KS 66047 400 State Avenue

Kansas City, KS 66101

 

g On behalf of person(s) aggrieved whose identity is
cONF/DENT/AL {29 cFR §1601.7(3))
EEOC Charge No. EEOC Representative Te|ephone No.
Mark E. Bretches,
563-2006-01833 |nvestlgator (913) 551 -6613

 

THE EEOC lS CLOS|NG lTS FlLE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fall to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Dlsabilitles Act.
The Respondent employs less than the required number of employees or is nol otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited loo long after the date(s) of the alleged discrimination to file your
charge _

Having been given 30 days in which to respond, you failed to provide information, failed to appear or be available for
interviews/conferences, or otherwise failed to cooperate to the extent that il was not possible to resolve your charge.

While reasonable efforts were made to locate you, we were notable to do so.

You were given 30 days to accept a reasonable settlement offer that affords full relief for the harm you alleged.

The EEOC issues the following detennination: Based upon its lnvest.igation, the EEOC is unable to conclude that the-information obtained -
establishes violations of the slatutes. This does not certify that the respondent ls in compliance with the statutes No finding ls made as to
any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (bliefly slafe)

mm ann n non n

- NOTICE OF SU|T RlGHTS -

(See the additional infonnalion attached to this form.) .

Title`Vll, the Americans with Disabilitles Act, and/or the Age Discrimination in Employment Act: This will be the only
notice of dismissal and of your right to sue that we will send you. You may file a lawsuit against the respondent(s) under
federal law based on this charge in federal or state court. Your lawsuit must be filed WlTHlN 90 DAYS of your receipt
of this notice; or your right to sue based on this charge will be lost. (T he time limit for filing suit based on a state claim may
be different.)

Equa| Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations.~that~occurred more_than»rz~ ears. 3 ears
before you file suit may not be collectible.

 

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MAR} 8 2007

(/
James R. Nee|y, Jr., (Date Mailed)
Director

Enc|osures(s) / g '

 

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BETH M. BRADRICK, Ph.D.

PITTSBURG

DAVID A. HANSON
TOPEKA

CLYDE HOWARD
MANHA'I"I`AN

LOU ANN THOMS
TOPEKA

ANTHONY VILLEGAS, SR.
KANSAS ClTY

ERROL V. WILLIAMS
TOPEKA

JEROME WILLIAMS
WICHITA

TTY (785) 296-0245
FAX (785) 296-0589
800# 1-888~793-6874

Ms. Nancy Huckeba
3004 F lint Drive
Lawrence KS 66047

 

KAN sAs

KANSAS HUMAN RIGHTS COMMISSION

 

LANDON sTATE oFFIcE BLDG. - 5"* FLOOR
900 s.w. JAcKsoN - sUITE 568 s.
TOPEKA, KANSAS 66612-1258
(785) 296_3206
www.khrc.net

September 12, 2006

RE: Case No. 30438-07, Huckeba vs. University of Kansas and its Reps.

Dear Ms. Huckeba:

KATHLEEN SEBELIUS, GOVERNOR

WILLlAM V. MINNER
EXECUTIVE DIRECTOR
RUTH GLOVER
ASSISTANT DIR.ECTOR
BR.ANDON L. MYERS
CHIEF LEGAL COUNSEL
IUDY FOWLER
SENIOR LEGAL COUNSEL
CA'I`HERINE A. WALTER
STAFF A'I"I`ORNEY
BlLL WRIGH'I`
TOPEKA INVESTIGATIVE
ADMINISTRATOR
OR.IE KIRKSEY
TOPEKA INVESTIGATIVE
ADMINISTR.ATOR
JANE L. NEAVE
WlCHI'I`A INVESTlGA'l`IVE
ADMINISTRATOR
RICK FISCHLI
RACIAL AND OTHER PROFILING
ADMINISTRATOR

This is to acknowledge receipt of your formal complaint charging the above captioned Respondent
with violating the Kansas Act Against Discrimination. A copy of the complaint is enclosed for your

information

Since your complaint is tirst filed With the Equal Employment Opportunity Commission (EEOC), the
Kansas Human Rights Commission will be notified of the results. The investigation of your complaint
by the Kansas Human Rights Commission will consist of reviewing the results of the completed EEOC
investigation to determine if there has been a violation of the Kansas Act Against Discrimination.

If you have questions, please do not hesitate to call.

WVM/
Enclosure

,`; l Sincerely,
di

William V. Minner
Executive Director

 

 

 

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_ vSTATE OF KANSAS
KANSAS HUMAN RIGHTS COMMISSION

DOCKET No. 30 438 10 7

On the complaint of

Nancy Huckeba
Complainant,

VS.

Respondent,

University of Kansas and its Representatives

l, Nancy Huckeba residing at 3004 Flint Drive, Lawrence, KS 66047

charge University of Kansas and its Representatives whose address is-1450 Jayhawk
Avenue, Strong Hall, Rm. 300, Lawrence, KS 66045

With an unlawful practice within the meaning of:
[X] The Kansas Act Against Dlscrimination (Chapter 44, Art. 10, K. S. A. ) and specifically
within the meaning of subsection (a)(1) (a)(4) of S`ection 44- 1009 of said Act, because cf

my RAcE (), RELleloN (), coLoR (), sex (i, NATloNAL oRlGlN 0, ANcEsTRY (),
DisABn_lTY (x), RETALIATloN‘(x), FAMlLlAL sTATus ().

[] The Kansas Age Discrimination in Emp|oyment Act (Chapter 44, Art. 11, K.S.A.) and
specifically within the meaning cf subsection of Secticn of said Act, because of my
AGE.

Alleged Date of lncident, on or about February 22, 2004, to May 8, 2006.

The aforesaid charges are based on'the following facts:

|. l am disabled and | have openly opposed acts and practices forbidden by the
Kansas Act Against Discrimination.

|l. l was employed by the Respondent from July 2002, to May 8, 2006.
A. From February 22, 2004, to May_8, 2006, l was denied a reasonable
accommodation. Subsequent|y, »| _made.a complaint to ,a’ member$of

management regarding disability discrimination.

B. ln October_2005, and November 2005, l was subjected to wrongful
discipline and negative counseling.

C. On May 8, 2006, l was terminated.

 

,Uif

 

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3@</33»07
STATE..OF KANSAS ...
KANSAS HUMAN RIGHTS COMMISSIGN

ll|. l hereby charge University of Kansas and its Representatives with a violation of
the Kansas Act Against Discrimination, in that l was denied a reasonable
accommodation due to my disability and subjected to wrongful discipline and
negative counseling, and terminated and as acts of retaliation for having openly
opposed acts and practices forbidden by the Kansas Act Against Discrimination,

l have not commenced any action, civil or criminal, based upon the grievance set forth above, except

 

sTATE oF KANSAS ) x //'Q/\,/r/%YLh///%/W
)ss: (Signa{ture of Comp|ainant)

couNTYoi= Dn/g/ /lC/» )

Nancy Huckeba, being duly sworn, deposes and says that: that she/he is the
Comp|ainant herein; that shelhe has read the foregoing complaint and knows the
contents thereof; that the same is true of her/his own knowledge except as to the
matters therein stated on information and belief; that as to those matters she/he
believes the same to be true.

Subscribed and sworn to before me

this_ll_': day of § pt , 2006 x /lvétcf'\ dHMLlZVD/i

 

 

(Signatl§re of Comp|ainant)
('
%% Public) pf ";§`@
MY coMMlssloN ExPlREs: g ///za)a mi 12 2935

 

 

 

 

Josepii suscean ice _
ucnnvpuouc `_ ,_ _M.~
am snmele
MyAppt. Exp.

 

